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Your Honorable Judge Janis Graham Jack,
Dear Judge Jack,
Might I impose upon your Grace for merely one moment in time to ask your Indulgence upon
one matter only that should not impose any legal quandary Upon your Calendar, your office or
your time since you have already devoted Much of that to The State of Texas and DFPS in
particular?
Humbly Your’s, an ardent admirer and bonafide Texas Resident; officially since January 28th,
2021, and perhaps one of the purported eight million Californians; Albeit in my own particular
case, a Native San Diegan, since June 2nd, 1946; only one Month after your own birth of May in
Los Angeles, where my own wayward yet Loving daughter migrated to in May of 2022 to work
for Start Up!
Respectfully
Michael Philip Oliver
Arlington, Texas 76014
P.S. If No, I shan’t bother You again.
If Yea, I would know that you are open to limited conversation about Texas and DFPS from One
who relocated to Texas with the object and hope, to Adopt or At least contribute to the welfare
of an/any Autistic boys within their conservancy.
You have my promise to keep these; cogent, salient and meaningful from the Perspective of a
wartime veteran, father, educated student of human behavior And lastly, American whom still
believes in the Rule of Law and Our Constitution.

Sent from my iPad
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Mr. Oliver,
The Court received your email. However, judicial ethics prohibit the judge from discussing an
ongoing case with anyone outside the confines of the courtroom.
Thank you for your interest.


Sincerely,
Lori Purifoy
Case Manager to U.S. District Senior Judge Janis Graham Jack
